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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

National Association of Diversity Officers
in Higher Education, et al.,

                   Plaintiffs,

       v.
                                                    Civil Action No. 1:25-cv-333-ABA

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                   Defendants.


                 PLAINTIFFS’ NOTICE OF SUPPLEMENTAL FACTS

  1. Plaintiffs wish to inform the Court of factual developments relevant to Plaintiffs’ pending

      emergency motion for a status conference regarding this Court’s preliminary injunction,

      ECF No. 68.

  2. Plaintiffs submitted a grant agreement between HUD and the City and County of San

      Francisco as an attachment to their motion. See ECF No. 68-4. The agreement states that

      San Francisco must “certif[y] that it does not operate programs promoting diversity, equity,

      and inclusion that violate any applicable anti-discrimination laws.” Id. Plaintiffs noted that

      this appeared to be directly contrary to the Court’s Preliminary Injunction. ECF No. 68 at

      3.

  3. Unbeknownst to Plaintiffs’ counsel, HUD informed Plaintiff Baltimore yesterday

      afternoon that it required Baltimore to sign a materially identical certification as had been

      provided to San Francisco. Declaration of Ernestina Simmons (Baltimore Declaration),

      ¶¶ 7, 11. A copy of that grant agreement is attached to the Baltimore Declaration as Exhibit

      B. It requires Baltimore to “certif[y] that it does not operate any programs promoting


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   diversity, equity, and inclusion that violate any applicable Federal anti-discrimination

   laws.” Baltimore Decl, Ex. B, at 3.

4. This agreement concerns a “Continuum of Care” grant that is used to provide services to

   people without permanent housing. Baltimore Decl. ¶¶ 3, 7.

5. Until Baltimore signs such agreements, it cannot recoup costs it has already expended for

   programs it supports through sub-recipients. Baltimore Decl. ¶ 12.

6. In addition, this morning, March 14, 2025, Defendants wrote to the Fourth Circuit, citing

   Plaintiffs’ filing at ECF No. 68, claiming it showed this Court’s improper use of its

   equitable powers. See Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump, 25-1189,

   ECF No. 27 (4th Cir. Mar. 14, 2025).

7. Plaintiffs filed a response to this letter in the Fourth Circuit, noting this imminent filing in

   the District Court. See id., ECF No. 28.




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  Respectfully submitted,


                                         /s/ Aleshadye Getachew

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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 14, 2025, I electronically filed the foregoing letter with the

Clerk of the Court by using the CM/ECF system. Service will be accomplished by the CM/ECF

system.



                                                                         /s/ Aleshadye Getachew

                                                                             Aleshadye Getachew
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